USCA11 Case: 22-12687   Document: 42       Date Filed: 03/14/2023   Page: 1 of 50



                                No. 22-12687


UNITED STATES COURT OF APPEALS FOR THE ELEVENTH CIRCUIT
                   —————————————————————

          JOEL B. ROTHMAN, CRAIG A. WIRTH, AND SRIPLAW, P.A.,

                                                 Appellants,

                                      v.
           A SHOC BEVERAGE, LLC, AND KEURIG DR. PEPPER, INC.,
                                                 Appellees.
                   —————————————————————

               On Appeal from the United States District Court
                     for the Southern District of Florida,
      Case No. 9:21-cv-80740-DMM (Hon. Donald M. Middlebrooks, J.)


                        BRIEF FOR APPELLEES


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 USCA11 Case: 22-12687       Document: 42    Date Filed: 03/14/2023   Page: 2 of 50
      Joel B. Rothman, et al. v. A Shoc Beverage, LLC, et al., No. 22-12687

               CERTIFICATE OF INTERESTED PERSONS
           AND CORPORATE DISCLOSURE STATEMENT (CIP)

      Pursuant to Federal Rule of Appellate Procedure 26.1 and Eleventh Circuit Rule

26.1-1, Defendants-Appellees hereby state that the following individuals and entities

have an interest in the outcome of this appeal:

A Shoc Beverage, LLC

Celsius Holdings, Inc.

Coffey Burlington, P.L. – Counsel for A Shoc Beverage, LLC and Keurig Dr. Pep-
per, Inc.
DeSantis, Carl – Shareholder of Celsius Holdings, Inc.
Dial, Avery A. – Counsel for Appellants
Hogan, Howard S. – Counsel for A Shoc Beverage, LLC and Keurig Dr. Pepper,
Inc.
Kaplan, Kevin C. – Counsel for A Shoc Beverage, LLC and Keurig Dr. Pepper, Inc.

Kaufman Dolowich & Voluck, LLP – Counsel for Appellants
Keurig Dr. Pepper, Inc.
Kopp, Christopher F. – Counsel for A Shoc Beverage, LLC and Keurig Dr. Pepper,
Inc.

Milmoe, William H. – Shareholder of Celsius Holdings, Inc.
Rothman, Joel B. – Appellant

Schabert, Barbara R. – Counsel for Appellants

Shing, Li Ka – Shareholder of Celsius Holdings, Inc.
SRIPLAW, P.A. – Appellant

Teitelbaum, Meir – Counsel for Celsius Holdings, Inc.


                                        C-1 of 2
 USCA11 Case: 22-12687        Document: 42   Date Filed: 03/14/2023   Page: 3 of 50
      Joel B. Rothman, et al. v. A Shoc Beverage, LLC, et al., No. 22-12687

Wirth, Craig A. – Appellant




                                       C-2 of 2
 USCA11 Case: 22-12687      Document: 42     Date Filed: 03/14/2023   Page: 4 of 50



              STATEMENT REGARDING ORAL ARGUMENT

      Appellees believe that oral argument is unnecessary. This case presents

straightforward legal issues that would not benefit from oral argument.




                                         i
 USCA11 Case: 22-12687                   Document: 42             Date Filed: 03/14/2023               Page: 5 of 50



                                         TABLE OF CONTENTS
                                                                                                                    Page
CERTIFICATE OF INTERESTED PERSONS AND CORPORATE
DISCLOSURE STATEMENT (CIP) ....................................................................C-1

STATEMENT REGARDING ORAL ARGUMENT ............................................... i

TABLE OF CONTENTS .......................................................................................... ii

TABLE OF AUTHORITIES ................................................................................... iv
STATEMENT OF THE CASE ..................................................................................1
I.       Appellants’ Pattern Of Vexatious Conduct In Underlying Litigation.............1

II.      A SHOC Moves For Reasonable Attorneys’ Fees Against Celsius’s
         Attorneys In Their Personal Capacity ...........................................................11
III.     Court Awards A SHOC Its Reasonable Attorneys’ And Expert Fees ..........15

STANDARD OF REVIEW .....................................................................................16
SUMMARY OF ARGUMENT ...............................................................................17

ARGUMENT ...........................................................................................................19

I.       The District Court’s Order Sanctioning Counsel Was Well-Reasoned
         And Fully Supported By The Record ............................................................19

         A.       The District Court’s Order Clearly Identified Counsel’s Bad
                  Faith Conduct ......................................................................................20

         B.       The District Court Did Not Abuse Its Discretion By
                  Determining That Celsius’s Counsel Engaged In Vexatious
                  Conduct That Multiplied Proceedings ................................................25

         C.       The Fee Award Was Directly Tied To Excess Proceedings
                  Caused By Appellants’ Bad Faith Conduct ........................................30
II.      The District Court Did Not Violate Appellants’ Constitutional Rights ........33
III.     The Evidence Regarding The SEC Investigation Into Celsius Is
         Immaterial ......................................................................................................35

                                                            ii
 USCA11 Case: 22-12687                 Document: 42            Date Filed: 03/14/2023            Page: 6 of 50



IV.      A SHOC’s Partial Rebranding Is Irrelevant ..................................................36

V.       Amicus’s Arguments Do Not Support Reversal ...........................................36
CONCLUSION ........................................................................................................38




                                                         iii
  USCA11 Case: 22-12687                   Document: 42             Date Filed: 03/14/2023              Page: 7 of 50



                                       TABLE OF AUTHORITIES
                                                                                                                 Page(s)
Cases

Access Now, Inc. v. Sw. Airlines Co.,
   385 F.3d 1324 (11th Cir. 2004) ..........................................................................21

***Amlong & Amlong, P.A. v. Denny’s Inc.,
   500 F.3d 1230 (11th Cir. 2007) ........................................................16, 17, 19, 26

Apex Oil Co. v. Belcher Co. of N.Y.,
   855 F.2d 1009 (2d Cir. 1988) ...........................................................................28

Austin v. United States,
  509 U.S. 602 (1993) ............................................................................................35

Auto Owners Ins. Co. v. Summit Park Townhome Ass’n,
   886 F.3d 863 (10th Cir. 2018) ............................................................................34

Avirgan v. Hull,
   932 F.2d 1572 (11th Cir. 1991) ..........................................................................34
Awad v. Cici Enterprises,
  2006 U.S. Dist. LEXIS 85123, 2006 WL 4824477 (M.D. Fla.
  November 20, 2006) .............................................................................................8
Breedlove v. Hardtford Life and Accident Insurance,
   No. 6:11-cv-991-Orl-28GJK, 2012 WL 12905599 (M.D. Fla. June
   12, 2012) ...............................................................................................................5

Eldredge v. ED Care Mgmt, Inc.,
   766 F. App’x 901 (11th Cir. 2019) ....................................................................26

Frey v. Town of Jackson,
   41 F.4th 1223 (10th Cir. 2022) ....................................................................24, 26

Johnson v. Florida,
   348 F.3d 1334 (11th Cir. 2003) ..........................................................................29

K’napp v. Adams,
   No. 1:06—cv—01701—LJO—GSA—PC, 2014 U.S. Dist. LEXIS
   31535, 2014 WL 950353 (E.D. Cal. Mar. 11, 2014) ............................................ 8

                                                             iv
  USCA11 Case: 22-12687                    Document: 42             Date Filed: 03/14/2023                Page: 8 of 50



Maiz v. Virani,
  253 F.3d 641 (11th Cir. 2001) ............................................................................17

In re MGM Mirage Sec. Litig.,
   No. 2:09-CV-1558-GMN, 2014 WL 6675732 (D. Nev. Nov. 25,
    2014) .....................................................................................................................5
New River Dry Dock, Inc. v. Falls at Marina Bay, L.P.,
  No. 08-60216-CIV, 2008 WL 2620727 (S.D. Fla. June 30, 2008) ...................... 4
***Norelus v. Denny’s Inc.,
   628 F. 3d 1270 (11th Cir. 2010) .............................................................17, 19, 20
O’Rourke v. Dominion Voting Systems, Inc.,
  No. 21-1442, 2022 WL 17588344 (10th Cir. Dec. 13, 2022) ...........................34
Oliva v. NBTY, Inc.,
    583 F. App’x 877 (11th Cir. 2014) .......................................................24, 29, 30
Schwartz v. Million Air Inc.,
   341 F.3d 1220 (11th Cir. 2003) ..........................................................................17

Sewell v. D’Alessandro & Woodyard, Inc.,
   No. 2:07-cv-343-FtM-29SPC, 2011 U.S. Dist. LEXIS 28376
   (M.D. Fla. Mar. 8, 2011).......................................................................................8

Silver Streak Trailer Company, LLC v. Thor Industries, Inc.,
    No. 18- 14126-CIV-ROSENBERG/MAYNARD, 2018 W
    8367073 (S.D. Fla. Nov. 15, 2018)....................................................................... 5
Steil v. Humana Kansas City, Inc.,
   1197 F.R.D. 445 (D. Kan. 2000) .......................................................................... 5

Switch Commc’ns Grp. v. Ballard,
  No. 2:11-CV-00285-KJD, 2011 WL 3957434 (D. Nev. Sept. 7,
  2011) .....................................................................................................................5

Thomas v. Tenneco Packaging Co.,
  293 F.3d 1306 (11th Cir. 2002) .........................................................................34
U.S. v. Nat’l Steel Corp.,
   26 F.R.D. 607 (S.D. Tex. 1960)............................................................................ 8



                                                               v
 USCA11 Case: 22-12687                    Document: 42            Date Filed: 03/14/2023               Page: 9 of 50



United States v. Frazier,
  387 F.3d 1244 (11th Cir. 2004) ...................................................................16, 17

Winfield v. St. Joe Paper. Company,
  1977 WL 15327 (N.D. Fla. Nov. 10, 1977).......................................................... 5

Wynn Las Vegas v. Zoggolis,
  No. 14–cv–157– MMD–VCF, 2014 WL 2772241, (D. Nev. June
  17, 2014) ...............................................................................................................5
Young Apartments, Inc. v. Town of Jupiter, Fla.,
  503 F. App’x 711 (11th Cir. 2013) ....................................................................26
Rules

Fed. R. Civ. P. 33(a)...................................................................................................5

Fed. R. Civ. P. 34(b)(1)(A) ........................................................................................8




                                                            vi
USCA11 Case: 22-12687        Document: 42     Date Filed: 03/14/2023   Page: 10 of 50




      The district court, after a hearing on the record, sanctioned Appellants Joel B.

Rothman, Craig Wirth, and SRIPLAW (“Appellants”), counsel for the Plaintiff Cel-

sius Holdings, Inc. (“Celsius”) in the underlying matter, based on bad faith conduct

throughout the district court litigation, in the amount of $249,357.50 (more than

$100,000 less than the cost incurred by Appellees A SHOC Beverage LLC and

Keurig Dr. Pepper Inc. (“Defendants”) litigating the case). The trial court’s sanction

Order, DE 66, was fully supported by the record and was not an abuse of discretion.

This Court should affirm.

                          STATEMENT OF THE CASE

I.    Appellants’ Pattern Of Vexatious Conduct In Underlying Litigation
      As the trial court found in its Order imposing sanctions, Appellants’ contu-

macious conduct in the underlying litigation was “extraordinary,” DE 66 at 3,

evinced a “flagrant disregard” for the rules of federal litigation, id. at 4, and fully

justified the imposition of sanctions in the amount awarded by the trial court.

      Celsius, acting through Appellants, brought this case in bad faith seeking dam-

ages and broad injunctive relief in order to prevent competition from a popular en-

ergy drink based on legal theories that have been soundly rejected by courts in the

Eleventh Circuit and around the country. Appellants filed a nine-count complaint

raising a variety of claims under state and federal law against Defendants, the crux




                                          1
USCA11 Case: 22-12687       Document: 42     Date Filed: 03/14/2023   Page: 11 of 50



of which was that (1) A SHOC’s Accelerator product falsely claimed that it “accel-

erates metabolism” and is “thermogenic” and (2) that the appearance of the A SHOC

Accelerator product was confusingly similar to Celsius’s alleged trade dress. DE 1

¶¶ 30-36, 44-57.

      As the trial court found, Celsius’s false advertising claims were directly con-

tradicted by its own studies—incorporated by reference into the Complaint—show-

ing that caffeine (the primary active ingredient in both Celsius and A SHOC Accel-

erator) accelerated metabolism and caused thermogenesis. See DE 66 at 4-7; DE 27

at 8-9 (motion to dismiss summarizing scientific evidence); DE 28-1, 28-2, 28-3

(scientific studies). Celsius also claimed that Defendants’ products infringed its

trade dress (a species of trademark law) by citing to ubiquitous conventions, such as

choosing a color scheme that communicates the beverage’s flavor, or indicators that

the product contains “zero sugar” or “0 SUGAR.” See DE 1 ¶¶ 38, 44. These com-

mon functional conventions cannot be claimed as source identifying by any one

company. DE 66 at 7 (conventions were “not protectible trade dress”).

       The baseless nature of the claims was underlined by Celsius’s inability to

provide any evidence or support throughout the district court proceedings. Defend-

ants engaged in discovery while the motion to dismiss was pending, in keeping with

the detailed scheduling orders that the Court issued on May 5 and 11, 2021. DE 11,




                                         2
USCA11 Case: 22-12687       Document: 42     Date Filed: 03/14/2023   Page: 12 of 50



20. Defendants adhered to these orders and produced documents in response to Cel-

sius’s requests for production. A SHOC also produced timely expert reports. See

DE 54-2 Ex. A (Expert Report of Richard B. Kreider), Ex. B (Expert Report of

Ronald C. Goodstein), Ex. C. (Expert Report of Andrew C. Bernstein). One of these

reports, by the Director of the Exercise & Sport Nutrition Lab and Human Clinical

Research Facility at Texas A&M University, carefully evaluated the studies cited by

Plaintiffs, as well as “well-known” research over “decades” into the physiological

effects of caffeine. DE 54-2, Ex. A at 11-12. He opined that decades of research

clearly supports Defendants’ statement that caffeine accelerates metabolism and

causes thermogenesis, and that many competing products make similar claims even

though they are sold as beverages and not regulated by the FDA. See id. at 11-15.

A SHOC also commissioned a scientific likelihood-of-confusion survey by a leading

marketing professor at Georgetown University using the methodology that is widely

considered the gold standard by courts. See DE 54-2, Ex. B. The survey found no

likelihood of confusion between the parties’ cans. See id. at 4-5. And a third expert

report was forced to evaluate Celsius’s claim for damages, even with the handicap

that Plaintiff had not participated in discovery or produced any evidence of harm.

See DE 54-2, Ex. C.

      Celsius, acting through Appellants, refused to participate in discovery in any

meaningful way or to prosecute its claims, instead pursuing a strategy of repeated


                                         3
USCA11 Case: 22-12687       Document: 42     Date Filed: 03/14/2023   Page: 13 of 50



obstruction of discovery. See DE 34-2 (Celsius’s Response to Request for Produc-

tion) (passim); DE 35-3 (Celsius’s Response to Request for Admission) (passim);

DE 35-4 (Celsius’s Response to Interrogatories) (passim). Celsius refused to re-

spond to a single one of A SHOC’s standard interrogatories, many of which simply

asked Celsius to provide support for the allegations included in its own Complaint.

DE 35-4 (passim).

      As just one illustrative example, Celsius refused to answer the following in-

terrogatory seeking the “factual basis” for the key element of its trade dress claim,

the allegation that A SHOC’s can could create a likelihood of confusion (reproduced

from DE 35-4 at 4-5):

      Interrogatory No. 3:

      Describe in detail the factual basis for and identify all evidence con-
      cerning Celsius’s allegation at paragraphs 45-47 of the Complaint that
      the A SHOC Accelerator can “has caused actual consumer confusion”
      with Celsius products.

Appellants’ pattern—for all interrogatories—was to repeat lengthy boilerplate sub-

stance-free objections, and then refuse to answer, as shown below (reproduced from

DE 35-4 at 4-5):

      ANSWER:
      Celsius objects because the interrogatory is implicitly compound in
      that Defendants are asking for Celsius to identify all evidence con-
      cerning allegations in paragraphs 45-47 of the Complaint. Each of
      which count against the twenty-five interrogatory limited stated in
      Fed. R. Civ. P. 33(a)(1). See New River Dry Dock, Inc. v. Falls at
      Marina Bay, L.P., No. 08-60216-CIV, 2008 WL 2620727 at *3 (S.D.

                                         4
USCA11 Case: 22-12687   Document: 42     Date Filed: 03/14/2023   Page: 14 of 50



    Fla. June 30, 2008)(“[w]ithout leave of the court or written stipula-
    tion, any party may serve upon any other party written interroga-
    tories, not exceeding 25 in number including all discrete sub-
    parts….” (citing Fed. R. Civ. P. 33(a)); Breedlove v. Hardtford Life
    and Accident Insurance, No. 6:11-cv-991-Orl-28GJK, 2012 WL
    12905599 at *3 (M.D. Fla. June 12, 2012) (Interrogatories should
    be brief, simple, particularized, unambiguous, and capable of being
    understood by jurors when read in conjunction with the answer)
    (citing Middle District Discovery Handbook (2001) at 15, IV.A.3).

    Celsius also objects because this interrogatory is asking for a legal
    conclusion. Actual consumer confusion is a legal conclusion and it
    is not proper for Celsius to answer. See Silver Streak Trailer Com-
    pany, LLC v. Thor Industries, Inc., No. 18- 14126-CIV-ROSEN-
    BERG/MAYNARD, 2018 W 8367073 at *5 (S.D. Fla. Nov. 15,
    2018)(“Interrogatories should not be used as a device for compel-
    ling the interrogated party to prepare the interrogator’s case for
    him.”)(quoting Winfield v. St. Joe Paper. Company, 1977 WL 15327
    at *1 (N.D. Fla. Nov. 10, 1977).

    The interrogatory is also facially oppressive and unduly burden-
    some in seeking to require a detailed listing or description of facts
    in support of contentions. A request seeking “all facts” and “all in-
    formation related to each and every allegation” is facially burden-
    some. In re MGM Mirage Sec. Litig., No. 2:09-CV-1558-GMN, 2014
    WL 6675732, at *5 (D. Nev. Nov. 25, 2014); Wynn Las Vegas v.
    Zoggolis, No. 14–cv–157–MMD–VCF, 2014 WL 2772241, at *3 (D.
    Nev. June 17, 2014); Switch Commc’ns Grp. v. Ballard, No. 2:11-
    CV-00285-KJD, 2011 WL 3957434, at *8 (D. Nev. Sept. 7, 2011)
    (quoting Steil v. Humana Kansas City, Inc., 1197 F.R.D. 445, 447 (D.
    Kan. 2000) “Steal [SIC] states that an interrogatory may reasona-
    bly ask for the material or principal facts which support a party’s
    contentions. However, ‘to require specifically ‘each and every’ fact
    and application of law to fact … would too often require a labori-
    ous, time-consuming analysis, search, and description of incidental,
    secondary, and perhaps irrelevant and trivial details.’”).




                                     5
USCA11 Case: 22-12687        Document: 42    Date Filed: 03/14/2023   Page: 15 of 50



      Similarly, Appellants unnecessarily multiplied the number of facts that would

need to be established through discovery and at trial by refusing to answer Requests

for Admissions as to basic facts, such as the indisputable appearances of competing

products. See, e.g., DE 35-3 at 2-3. For example, they refused to answer whether

“the following image accurately depicts a can of Rowdy Energy as it currently ap-

pears in the marketplace”:




      Even more remarkably, Appellants actually denied Requests for Admission

that asked them to admit that the studies cited in the Complaint included certain

phrases, even though those phrases plainly appeared on the face of the studies (DE

35-3 at 197):

      169. Admit that a link to the following scientific study appears on Cel-
      sius’s website: Vincent Dalbo et al., Acute effects of ingesting a com-
      mercial thermogenic drink on changes in energy expenditure and mark-
      ers of lipolysis, 5 J. OF INT’L SOC’Y OF SPORTS NUTRITION 6
      (2008).

      Admitted.



                                         6
USCA11 Case: 22-12687          Document: 42      Date Filed: 03/14/2023   Page: 16 of 50



         170. Admit that the study referred to in Request No. 169 says that “caf-
         feine increases energy metabolism.”

         Deny.

Here is the precise language highlighted as it appears on page 4 of Celsius’s study

(DE 54-2, Ex. F):

         Of the active ingredients, caffeine and epigallocatechin gallate
         (EGCG, an abundant catechin in green tea) [24] are the most common
         and have been found to increase energy expenditure [8,10,11,25-29]
         and increase markers of lipolysis [8-11]. In this regard, caffeine in-
         creases energy metabolism through stimulation of β-adrenergic recep-
         tors and adenyl cyclase resulting in activation of cyclic AMP (cAMP),
         causing subsequent increases in circulating epinephrine [30,31] and
         free fatty acids [32]. Caffeine may also enhance lipolysis by inhibiting
         nucleotide phosphodiesterase resulting in increased tissue concentra-
         tions of cAMP and activation of hormone-sensitive lipase, which pro-
         vides further explanation for the increased circulating levels of free
         fatty acids seen in the present study [12].

         Celsius, acting through Appellants, refused to produce any documents in re-

sponse to Defendants’ requests for production, many of which simply asked for doc-

uments supporting the allegations included in Celsius’s Complaint. See DE 34-2 at

70 (asserting multiple objections, including relevancy, to the request that Celsius

produce “documents Celsius contends supports its claims against A SHOC”). The

following example, taken from DE 34-2 at 33-34, is again illustrative, as it was ad-

dressed to an element that Celsius was required to prove to establish its trade dress

claim:




                                             7
USCA11 Case: 22-12687    Document: 42     Date Filed: 03/14/2023   Page: 17 of 50



    38. All documents concerning Celsius’s allegation at paragraphs 48
    and 53 of the Complaint that Celsius’s alleged trade dress is “non-
    functional.”

    RESPONSE: Objection. Celsius objects because “all documents
    concerning Celsius’s allegation at paragraphs 48 and 53 of the
    Complaint that Celsius’s alleged trade dress is ‘non-functional’” is
    overly broad, vague, and ambiguous in failing to describe with req-
    uisite particularity the items sought to be produced. Rule 34 re-
    quires requests for production to “describe with reasonable partic-
    ularity each item or category of items to be inspected.” Fed. R. Civ.
    P. 34(b)(1)(A); see Awad v. Cici Enterprises, 2006 U.S. Dist. LEXIS
    85123, 2006 WL 4824477, *1 n. 1 (M.D. Fla. November 20, 2006)(“A
    request for ‘all documents and records’ that relate to ‘any of the
    issues,’ while convenient, fails to set forth with reasonable particu-
    larity the items or category of items sought for Plaintiff's identifi-
    cation and production of responsive documents.” Sewell v. D’Ales-
    sandro & Woodyard, Inc., No. 2:07-cv-343-FtM-29SPC, 2011 U.S.
    Dist. LEXIS 28376, at *6 (M.D. Fla. Mar. 8, 2011); K’napp v. Ad-
    ams, No. 1:06—cv—01701—LJO—GSA—PC, 2014 U.S. Dist.
    LEXIS 31535, 2014 WL 950353, at *6 (E.D. Cal. Mar. 11, 2014)
    (denying request for production of “all documents related to De-
    fendants’ affirmative defenses” for failure to comply with Rule 34’s
    particularity requirements). “The goal is that the description be
    sufficient to apprise a man of ordinary intelligence which docu-
    ments are required.” U.S. v. Nat’l Steel Corp., 26 F.R.D. 607, 610
    (S.D. Tex. 1960). The portion of the request quoted above fails to
    comply with the particularity standard in Fed. R. Civ. P
    34(b)(1)(A) and requires Celsius to comb through all documents
    within its custody and control and make a subjective judgment as
    to the evidentiary or impact of each and every document in order
    to respond. This is beyond the capability of a man of ordinary in-
    telligence and, as a result, Celsius is unable to respond.

    The request is also overly broad and not relevant to the extent it
    seeks documents and things with no time frame. The request is also
    not relevant to the extent it seeks documents and things that have
    no bearing on the unsupported structure-function claims for the A
    SHOC Accelerator product.


                                      8
USCA11 Case: 22-12687       Document: 42      Date Filed: 03/14/2023    Page: 18 of 50



      Celsius also objects because this request calls for a legal conclusion.
      “Non-functional” is a legal conclusion and Celsius is unable to de-
      termine what documents are being asked for in this request.

      This request calls for documents and things that are protected by
      the attorney-client privilege, work product doctrine, and/or any
      other privilege, immunity, or protection afforded by law inasmuch
      as all such documents that are responsive to this request that pre-
      date the filing of this action are privileged.

      In fact, in an attempt to avoid providing any real discovery, Celsius changed

position mid-stream and abandoned the central (and repeated) allegation of its false

advertising claim, that A SHOC’s claims that its product “accelerates metabolism”

and is “thermogenic” are supposedly false. See DE 1 ¶¶ 32, 33, 34, 35, 60, 111.

      Appellants claimed (incredibly) that A SHOC somehow “mischaracterize[d]”

the Complaint, as shown in the image below from DE 35-4 at 10:

      10. Describe in detail the factual basis for and identify all evidence that
      supports the proposition the A SHOC ACCELERATOR product is not
      “THERMOGENIC.”

      ANSWER:

      Celsius objects because Defendants mischaracterize Celsius’s alle-
      gation made in the Complaint. The allegation in the Complaint is
      that “A SHOC and KDP lack any reasonable basis to make the
      claims for A SHOC ACCELERATOR that the product “ACCEL-
      ERATES METABOLSIM” or is “THERMOGENIC” and that “A
      SHOC and KDP lack competent and reliable scientific evidence to
      support the claims for A SHOC ACCELERATOR that the product
      “ACCELERATES METABOLISM” or is “THERMOGENIC.”
      (Complaint ¶¶ 32-33). The factual predicate for this question is
      therefore inconsistent with and different from the allegations in the
      Complaint. The question is not relevant because Celsius has not al-


                                          9
USCA11 Case: 22-12687        Document: 42      Date Filed: 03/14/2023   Page: 19 of 50



         leged that A SHOC ACCELERATOR product is not “THERMO-
         GENIC” but rather A SHOC and KDP lack substantiation to sup-
         port its claim.

A SHOC’s interrogatory was based on Celsius’s allegation, clearly articulated

throughout its complaint, that “[t]hese false and misleading statements purposefully

misrepresent the nature, characteristics, or qualities of A SHOC’s products, includ-

ing but not limited to A SHOC’s claims that its A SHOC ACCELERATOR products

are ‘thermogenic’ and ‘accelerates metabolism,’ when in fact they do not.” DE 1

¶ 111.

         Appellants’ conduct with respect to expert discovery was in the same vein.

Pursuant to the trial court’s Pretrial Scheduling Order, Celsius was obligated to “fur-

nish opposing counsel with expert reports or summaries of its expert witnesses’ an-

ticipated testimony in accordance with Fed. R. Civ. P. 26(a)(2)” by August 9, 2021.

DE No. 20 at 5. Celsius, acting through its counsel, disregarded the Court’s expert

disclosure deadline, and tried to cover for its failure by providing summaries of pro-

posed expert reports that indisputably failed to provide the required information. See

DE 39-5 (Marketlab statement of work); DE 39-8 (Lockwood statement); DE 49 at

3-4 (detailing the elements not provided). Incredibly, Celsius’s supposed expert dis-

closure merely “propose[d] to do the actual survey work on which” it wanted its

proffered survey expert to testify. DE 47 at 4.




                                          10
USCA11 Case: 22-12687       Document: 42      Date Filed: 03/14/2023   Page: 20 of 50



      As a result, A SHOC filed two motions to compel discovery, see DE 34 & 35,

and a motion to exclude its experts, see DE 39. Appellants failed to offer any re-

motely plausible justification for its objections and refusal to comply with Defend-

ants’ discovery requests, and did not even respond to A SHOC’s Motion to Compel

Production of Documents. See DE 45 at 1 (noting that Celsius did not oppose De-

fendant’s motion to compel production). Without notice or warning, Celsius volun-

tarily dismissed this case on September 14, 2021, shortly before the court hearing on

the discovery motions, apparently in the misplaced hope that its action would avoid

having to pay the consequences of its earlier positions.

II.   A SHOC Moves For Reasonable Attorneys’ Fees Against Celsius’s At-
      torneys In Their Personal Capacity

      After Celsius voluntarily dismissed its case, Defendants moved for sanctions

against Appellants in their personal capacity as counsel for Celsius under 28 U.S.C.

§ 1927, titled “Counsel’s Liability For Excessive Costs,” which provides in full:

      Any attorney or other person admitted to conduct cases in any court of
      the United States or any Territory thereof who so multiplies the pro-
      ceedings in any case unreasonably and vexatiously may be required by
      the court to satisfy personally the excess costs, expenses, and attor-
      neys’ fees reasonably incurred because of such conduct.
28 U.S.C. § 1927 (emphasis added). As Defendants spelled out, “Title 28, Section

1927 provides that any attorney who so ‘multiplies court proceedings unreasonably

and vexatiously’ may be required by the court to satisfy personally the excess costs,

expenses, and attorneys’ fees reasonably incurred because of such conduct.” DE 54


                                         11
USCA11 Case: 22-12687       Document: 42      Date Filed: 03/14/2023   Page: 21 of 50



at 11 (emphasis added). Defendants further argued that “[s]anctions are warranted

where an attorney ‘knowingly or recklessly pursue[s] a frivolous claim,’ or where

‘the attorney’s conduct is so egregious that it is tantamount to bad faith.’” Id. (em-

phasis added). A SHOC argued that Celsius’s attorneys were personally liable for

certain excess costs that A SHOC incurred, because Celsius’s complaint was based

on legal theories that had been squarely rejected by courts around the country and

because they had flagrantly abused the discovery process. Id. at 11-18.

      In response, Appellants chose to take the sweeping (although factually unsup-

ported) position that no sanctions would be appropriate at all. DE 57 at 11 (arguing

neither Celsius nor its counsel engaged in bad faith conduct). Appellants offered no

attempted defense based on any conduct or direction from their client, Celsius. DE

57 (opposition to motion for sanctions) (passim). Its brief opposing the motion for

sanctions acknowledged that counsel could be found liable for excessive costs under

section 1927, but argued that “neither Celsius nor its counsel are vexatious litigants

and there is no basis for the imposition of sanctions.” Id. at 10 (emphasis added;

capitalization altered); see also DE 82-1 (hearing transcript) at 36 (acknowledging

that “the 1927 motion accuses me personally of vexatious conduct”). At no point

during the underlying litigation did Appellants put forth any evidence or argument

that Celsius (as opposed to Celsius’s counsel) should be responsible for the bad faith

conduct at issue. See DE 57 (passim); DE 82-1 (passim).


                                         12
USCA11 Case: 22-12687       Document: 42      Date Filed: 03/14/2023   Page: 22 of 50



      In the motion for sanctions, Defendants sought only reasonable attorneys’ fees

that were directly tied to Appellants’ bad faith conduct. It did not seek any fees

incurred prior to fully briefing its motion to dismiss, at which time it should have

been plain to Appellants that the legal claims were frivolous. DE 54-1 ¶ 13 (Hogan

Declaration) (seeking fees for “the period from the date Defendants filed a Reply in

support of its Motion to Dismiss, June 25, 2021, through September 14, 2021”). It

lowered the rates of certain Washington D.C.-based attorneys to reflect customary

Miami rates. Id. ¶ 17 (“The hourly rates claimed in this fee application represent a

significant discount—ranging from 30% to 56% depending on the timekeeper—

from the rate that was actually charged the client and which is the firm’s customary

rate.”). And A SHOC excluded fees incurred as a result of internal calls, or where

more than one attorney attended a conference. Id. ¶ 17 (“Defendants are also not

seeking to recover for time billed by Gibson Dunn attorneys attending internal con-

ferences, or time during which multiple attorneys were on a single call.”).

      Prior to filing the motion for sanctions, Defendants provided Appellants with

a detailed accounting of the fees that it sought. DE 54-1 ¶ 36. The local meet and

confer rule required Appellants to “describe in writing and with reasonable particu-

larity each time entry or nontaxable expense to which it objects.” S.D. Fla. Local R.

7.3(b). Appellants refused to do so, see DE 54-1 ¶ 36 (“We never received a written

response to the draft motion in compliance with local rule 7.3(b)”), again making


                                         13
USCA11 Case: 22-12687         Document: 42         Date Filed: 03/14/2023   Page: 23 of 50



the deliberate strategic decision to contest whether fees should be imposed at all.

Rather than attempt to detail which fees should not be attributed to their conduct,

Appellants’ response to A SHOC’s motion for sanctions argued that the meet-and-

confer rule should not apply because “there was no legal justification for any of the

fees and expenses under any rule or statute,” and the rule should not be read to “re-

quire Celsius to put pen to paper about each and every one of A SHOC’s lawyers’

and experts’ fee entries disputing entitlement and the whole amount over and over

again ad nauseum where no legal basis for the imposition of fees or sanctions exists

in the first place.” DE 57 at 15. At no point prior to this appeal did Appellants argue

that specific fees were not attributable to the conduct that the district court found to

be sanctionable. See DE 57 (passim); DE 82-1 (passim).

       The district court held a hearing on the record, during which it provided Ap-

pellants the opportunity to present any evidence that they saw fit. DE 82-1. No

justification for either continuing to pursue the claims after it became clear that Cel-

sius’s legal theories were unsupported, nor of the obstruction of discovery, was pro-

vided to the district court. Id. (passim); DE 66 at 7 (“Plaintiff has failed to offer any

justification” for its litigation conduct).




                                              14
USCA11 Case: 22-12687            Document: 42    Date Filed: 03/14/2023   Page: 24 of 50



III.   Court Awards A SHOC Its Reasonable Attorneys’ And Expert Fees

       The district court sanctioned Celsius’s counsel and awarded fees in a detailed

and well-reasoned opinion. 1 DE 66 (Court Order). The court found that the “weak-
                            0F




ness of Plaintiff’s claims, combined with its conduct throughout the discovery pro-

cess, rise to the level of bad faith.” Id. at 5. The court detailed at length the “fatal

flaws in Plaintiff’s case,” which it found “should have been apparent at least from

the date on which Defendants filed their motion to dismiss.” Id. at 5. More im-

portantly, it laid out in detail precisely why the Appellants’ conduct throughout liti-

gation was sanctionable. Id. at 4-7. As the district court explained, Appellants “fla-

grantly disregarded the discovery process by refusing to meaningfully participate in

discovery, serving boilerplate objections to even the most straightforward discovery

requests, and repeatedly failing to comply with this Court’s deadlines.” Id. at 4.

Plaintiff, through its attorneys, “responded to almost every request for inspection

and production with a lengthy, generic, substance-free objection that the request was

broad and vague,” and “failed to answer Requests for Admission as to basic, undis-

putable facts, such as the appearances of competing products or what certain docu-

ments say.” Id. at 4. Appellants “failed to offer any justification for its failure to




 1
   The Court also converted the voluntary dismissal to a dismissal with prejudice, a
determination that is not before this Court on appeal.

                                            15
USCA11 Case: 22-12687        Document: 42      Date Filed: 03/14/2023   Page: 25 of 50



meaningfully participate in discovery, which caused [A SHOC] to file multiple dis-

covery motions, unnecessarily and vexatiously multiplying litigation and driving up

Defendants’ attorneys’ fees.” Id. at 7. The district court found that Appellants “did

not meaningfully participate in the discovery process,” and, at the tail end of discov-

ery, “had not produced a single document, answered a single interrogatory, or pro-

duced any evidence supporting its allegations.” Id. at 7.

      The court carefully scrutinized A SHOC’s fee submission. Id. at 9. It re-

viewed the “detailed billing records submitted by the Defendants” and concluded

“that the attorneys at Coffey Burlington and Gibson Dunn exercised sound billing

judgment.” Id. The court also evaluated the reasonableness of the attorneys’ rates,

noting in particular that the “rates of the Gibson Dunn attorneys have been dis-

counted 30-56% . . . from the firm’s customary rate actually charged to the client,”

and that the overall fee amount was reasonable. Id. at 9 & n. 4.

                            STANDARD OF REVIEW

      This Court reviews a district court’s award of attorneys’ and expert fees under

28 U.S.C. § 1927 for abuse of discretion. Amlong & Amlong, P.A. v. Denny’s Inc.,

500 F.3d 1230, 1237 (11th Cir. 2007). “The application of an abuse-of-discretion

review recognizes the range of possible conclusions the trial judge may reach.”

United States v. Frazier, 387 F.3d 1244, 1259 (11th Cir. 2004) (en banc). “[W]hen

employing an abuse-of-discretion standard,” the Court must affirm unless it finds



                                          16
USCA11 Case: 22-12687        Document: 42      Date Filed: 03/14/2023   Page: 26 of 50



“that the district court has made a clear error of judgment, or has applied the wrong

legal standard.” Id. (citing Maiz v. Virani, 253 F.3d 641, 662 (11th Cir. 2001)).

                          SUMMARY OF ARGUMENT

      The district court did not abuse its discretion in ordering Appellants to pay

Defendants’ reasonable attorneys’ and expert’s fees. Under the governing abuse of

discretion standard, Norelus v. Denny’s Inc., 628 F. 3d 1270, 1280 (11th Cir. 2010),

and the objective standard applied for bad faith, id. at 1282, the trial court correctly

found that the baseless claims filed by Appellants against Celsius’s competitor were

objectively unreasonable and in bad faith, as a transparent attempt by a well-heeled,

publicly held corporation to try to drive a competing product from the market. Fur-

ther, as the trial court also found, Appellants’ obstructionist discovery positions were

also taken in bad faith. DE 66 at 4-7. Both the pursuit of baseless claims and vexa-

tious litigation of any claims (whether or not originally frivolous) have been found

to warrant sanctions under 28 USC § 1927. Amlong, 500 F.3d at 1242 (quoting

Schwartz v. Million Air Inc., 341 F.3d 1220, 1225 (11th Cir. 2003) (“A determination

of bad faith is warranted where an attorney knowingly pursues a frivolous claim or

engages in litigation tactics that needlessly obstruct the litigation of non-frivolous

claims”)). The record supports the district court’s findings of both types of bad faith

here, and none of Appellants’ arguments for reversal come close to a showing of

abuse of discretion.



                                          17
USCA11 Case: 22-12687        Document: 42      Date Filed: 03/14/2023   Page: 27 of 50



      First, Appellants argue that the district court’s order “lacks any findings about

the conduct of counsel whatsoever,” and attempts to draw a distinction between

“conduct of counsel for Celsius as opposed to the conduct of Celsius through coun-

sel.” Br. at 37; id. at 38, 42-43. This argument ignores the clear terms of the district

court’s order and the undisputable fact that every instance of bad faith found by the

trial court is Appellants’ responsibility. Further, Appellants waived any contrary

argument by not making it before the district court.

      Second, Appellants’ argument that there was no bad faith simply ignores the

district court’s detailed explanation of precisely why sanctions were imposed.

Courts properly sanction attorneys for pursuing unsupported or facially frivolous

legal theories, and for multiplying proceedings by engaging in discovery abuses—

the precise conduct that the district court found sanctionable here.

      Third, there is no basis for an attack on the amount of the sanction, which was

fully supported by evidence before the trial court. Given that the entire claim was

baseless, the entire amount of fees and expert costs incurred by Defendants (more

than $350,000) could have been awarded, and the trial court’s award of more than

$100,000 less than this amount was not an abuse of discretion. Again, in the trial

court, Appellants offered no evidence of “apportionment” which might mandate a

different amount than that awarded by the district court.




                                          18
USCA11 Case: 22-12687         Document: 42     Date Filed: 03/14/2023   Page: 28 of 50



       Finally, Appellants’ constitutional claims are wholly without merit. There is

no constitutional or other right to litigate in bad faith. Appellants had both notice

and an opportunity to be heard before the district court on the governing bad faith

issue. It was Appellants’ choice what evidence (in their written response or at the

hearing before the trial court) to present in response to Defendants’ motion for sanc-

tions. Their failure to present a justification for their actions or evidence of good

faith is a reason to affirm the trial court, and not to find an imaginary constitutional

infirmity in the trial court’s ruling.

                                     ARGUMENT

I.     The District Court’s Order Sanctioning Counsel Was Well-Reasoned
       And Fully Supported By The Record
       Title 28, Section 1927 provides that any attorney who so “multiplies court

proceedings unreasonably and vexatiously” may be required by the court to satisfy

personally the excess costs, expenses, and attorneys’ fees reasonably incurred be-

cause of such conduct. Sanctions are warranted where an attorney “knowingly or

recklessly pursue[s] a frivolous claim,” or where “the attorney’s conduct is so egre-

gious that it is tantamount to bad faith.” Amlong, 500 F.3d at 1239, 1241-42 (em-

phasis and quotation marks omitted); Norelus, 628 F.3d at 1282. Appellants’ con-

duct in this case is a textbook example of proceedings that have been multiplied

“unreasonably and vexatiously.” As the district court found, Appellants brought




                                          19
USCA11 Case: 22-12687        Document: 42      Date Filed: 03/14/2023   Page: 29 of 50



claims with no basis in law or fact and dragged out discovery with frivolous objec-

tions. DE 66 at 4-7. They willfully disregarded the court’s scheduling order, finally

withdrawing their client’s claims only to avoid appearing before the district court to

justify their conduct. Id. The district court’s order awarding sanctions was not an

abuse of discretion.

      Appellants do not dispute the key basis for the trial court’s finding of bad

faith—that Celsius’s claims were legally baseless and factually unsupported from

the start, and that Appellants’ obstruction of discovery was beyond the pale. Nor do

Appellants deny that their actions cost Defendants more than the $249,000 awarded

by the trial court, as shown in billings records as to which no issue of authenticity

was ever raised. Consequently, Appellants do not even attempt to show that the

district court’s order was outside the range of permissible rulings on the facts before

the Court, and the district court’s order should simply be AFFIRMED. Appellants’

subsidiary arguments, which we go on to address, all are wholly unpersuasive.

      A.     The District Court’s Order Clearly Identified Counsel’s Bad
             Faith Conduct

      Appellants’ first two arguments for reversal are essentially one and the same:

the district court did not distinguish between counsel’s conduct, and the conduct of

Celsius, the client. Br. at 37-38, 42-43. The only support that they point to for this

novel argument is the district court’s use of “Celsius” or “Plaintiff” throughout its

order, apparently positing that because the district court did not identify counsel by


                                          20
USCA11 Case: 22-12687        Document: 42       Date Filed: 03/14/2023   Page: 30 of 50



name, that it did not adequately identify counsel’s bad faith conduct. See id. at 34

(“[T]he order doesn’t even mention former counsel until the conclusion on page ten

when it entered sanctions ‘against Plaintiff’s counsel.’”); id. at 37 (“Counsel for Cel-

sius is never even mentioned until the conclusion of the order.”); id. at 38 (“The

order on appeal speaks exclusively about plaintiff (i.e., Celsius) not plaintiff’s coun-

sel. Plaintiff’s counsel is Celsius’ legal representative. Plaintiff’s counsel is not

Celsius. The district court made no distinction between the two.”).

      Any argument that Celsius (the client) was responsible for any of the bad faith

conduct in the underlying litigation has been waived. See Access Now, Inc. v. Sw.

Airlines Co., 385 F.3d 1324, 1331 (11th Cir. 2004) (“This Court has repeatedly held

that an issue not raised in the district court and raised for the first time in an appeal

will not be considered in this court.” (quotation marks omitted)). At no point before

this appeal did Appellants argue that Celsius was responsible, in any way, for coun-

sel’s actions. See DE 57 (response to motion for sanctions) (passim); DE 82-1 (hear-

ing transcript) (passim). They did not make this argument in opposition to A

SHOC’s motion for sanctions, instead choosing to argue that there was no vexatious

litigation conduct by anyone. See DE 57 (passim). Nor did they present any evi-

dence at the sanctions hearing that the client was responsible for any of counsel’s

conduct. See DE 82-1 (passim). Appellants essentially fault the district court for

not sua sponte drawing a distinction that Celsius’s counsel never raised or provided


                                           21
USCA11 Case: 22-12687       Document: 42      Date Filed: 03/14/2023   Page: 31 of 50



any evidence to support. If Appellants believed that Celsius, as opposed to their

firm, should be held responsible for advancing frivolous legal positions and failing

to participate in discovery, it was incumbent upon Appellants to raise and argue that

point. They failed to do so. (Of course, whether Appellants are entitled to indem-

nification from Celsius is a separate issue not before the Court.)

      In any event, Appellants’ argument that the district court failed to identify any

conduct undertaken by counsel has it exactly backwards. The district court identi-

fied conduct that was undertaken exclusively by counsel. The district court sanc-

tioned Celsius’s counsel because they pursued frivolous legal claims, and utterly

failed to participate in discovery or produce any evidence supporting its own claims,

thereby necessitating multiple, expensive discovery motions. DE 66 at 4-7. All of

that conduct was undertaken by counsel. Appellants signed the complaint (see DE

1 at 31), signed all of the discovery papers (see DE 34-2 at 78; DE 35-3 at 200; DE

35-4 at 13), submitted deficient “expert reports,” (see DE 39-5; DE 39-8) and refused

to submit any evidence supporting their client’s legal claims or to abide by basic

rules of discovery. DE 66 at 4-7.

      There is no evidence, and Appellants did not argue to the district court, that

any of the contumacious conduct identified by the district court was caused by Cel-

sius’s actions, or that fees should be apportioned to anyone other than Appellants.

See DE 57 (passim); DE 82-1 (passim). None of the conduct identified by the district


                                         22
USCA11 Case: 22-12687         Document: 42      Date Filed: 03/14/2023    Page: 32 of 50



court was undertaken by Celsius, except through counsel. Indeed, neither Defend-

ants nor the district court have had any interaction with Celsius, except through Ap-

pellants. This is not a case where an attorney is being sanctioned for a client’s con-

duct—for example, destruction of evidence or refusal to attend a deposition—over

which the attorney had limited control. All of the bad faith conduct was undertaken

directly by Celsius’s attorneys.

      Finally, Appellants’ attempt to draw a distinction between the “conduct of

counsel for Celsius as opposed to the conduct of Celsius through counsel,” Br. at 37,

strains credulity. Appellants, in a remarkable show of chutzpah, even go so far as to

complain that the district court’s order “says nothing about former counsel for Cel-

sius being at fault,” id. at 43, apparently contending that they are not responsible for

their own conduct. Florida’s ethical rules make clear that attorneys are responsible

for exactly the sort of actions that the district court found to be sanctionable. 2 Ap-
                                                                                   1F




pellants identify no case—and we are aware of none—supporting the point that an



 2
   See R. Regulating Fla. Bar 4-3.1 (“A lawyer shall not bring or defend a proceed-
ing, or assert or controvert an issue therein, unless there is a basis in law and fact for
doing so that is not frivolous, which includes a good faith argument for an extension,
modification, or reversal of existing law.”); 4-3.4(d) (“A lawyer must not … inten-
tionally fail to comply with a legally proper discovery request by an opposing
party.”) available at https://www-media.floridabar.org/uploads/2022/12/2022_06-
DEC-RRTFB-12-2-2022-1.pdf.
   The Florida Bar’s Guidelines for regulating professionalism include similar re-
quirements on lawyers. See Guideline for Professional Conduct (G)(2) (“Document


                                           23
USCA11 Case: 22-12687       Document: 42      Date Filed: 03/14/2023   Page: 33 of 50



attorney’s bad faith conduct is somehow excused if done at the direction of a client.

If that were the rule, courts could only sanction attorneys under 28 U.S.C. § 1927 if

they determine that the attorney, in essence, went rogue, and engaged in objectively

unreasonably conduct that was independent of their representation of their client.

No court to our knowledge has ever drawn that distinction and, in fact, courts rou-

tinely sanction attorneys without distinguishing between an attorney’s independent

conduct and the conduct of the client through counsel. See, e.g., Oliva v. NBTY, Inc.,

583 F. App’x 877, 881-82 (11th Cir. 2014) (sanctions proper under § 1927 based on

filing of motion to strike, motion to permit punitive damages, and motion to present

spoliation evidence”); Frey v. Town of Jackson, 41 F.4th 1223, 1245 (10th Cir. 2022)

(sanctions proper under § 1927 based on Plaintiff’s counsel’s filing of a frivolous

amended complaint). The trial court’s findings of bad faith are more than sufficient

to support the relief awarded.




production should not be delayed to prevent opposing counsel from inspecting doc-
uments before scheduled depositions or for any other tactical reason.”); (G)(8) (“Ob-
jections to the document demands should be based on a good faith belief and not be
made for the purpose of withholding relevant information. If a document demand is
objectionable only in part, the unobjectionable documents should be produced.”);
(H)(2) (“Objections to interrogatories should be based on a good faith belief and not
be made for the purpose of withholding relevant information. If an interrogatory is
objectionable only in part, the unobjectionable portion should be answered.”), avail-
able at https://www.floridabar.org/prof/regulating-professionalism/presources002/.

                                         24
USCA11 Case: 22-12687        Document: 42       Date Filed: 03/14/2023   Page: 34 of 50



      B.     The District Court Did Not Abuse Its Discretion By Determining
             That Celsius’s Counsel Engaged In Vexatious Conduct That Mul-
             tiplied Proceedings
      Appellants do not seriously dispute, in anything more than the most cursory

way, that the district court’s findings were clearly erroneous or that the district court

abused its discretion by imposing sanctions. Nor could they. The district court laid

out a pattern of conduct that was supported by the record and clearly supports a bad

faith finding: (A) Celsius’s claims were flatly refuted by scientific studies that Cel-

sius cited in its own complaint, and were “directly undercut by well-established re-

search,” (DE 66 at 6); (B) the “FDCA claims were not legally cognizable” based on

clear caselaw (id.); (C) the trade dress claims were “premised on standard conven-

tions” and were “not protectible trade dress,” and Appellants should have known as

much no later than when Defendants filed their motion to dismiss (id. at 7); (D)

Appellants continued to pursue their client’s claims even after it was apparent that

they were baseless (id. at 5); (E) Celsius “had not produced a single document, an-

swered a single interrogatory, or produced any evidence supporting its allegations,”

(id. at 7); (F) Appellants “flagrantly disregarded the discovery process by refusing

to meaningfully participate in discovery, serving boilerplate objections to even the

most straightforward discovery requests,” and “repeatedly fail[ed] to comply with

[the district court’s] deadlines” (id. at 4); and (G) Appellants refused “to answer




                                           25
USCA11 Case: 22-12687       Document: 42      Date Filed: 03/14/2023   Page: 35 of 50



Requests for Admission as to basic, undisputable facts, such as the appearances of

competing products or what certain documents say” (id. at 4-5).

      Courts routinely sanction attorneys for engaging in similar conduct. See, e.g.,

Amlong, 500 F.3d at 1242 (sanctions proper when an attorney “knowingly or reck-

lessly pursues a frivolous claim or engages in litigation tactics that needlessly ob-

struct the litigation of non-frivolous claims.”); Eldredge v. ED Care Mgmt., Inc.,

766 F. App’x 901, 908 (11th Cir. 2019) (per curiam) (district court did not abuse

discretion when “firm engaged in a pattern of unreasonable and vexatious con-

duct . . . that needlessly obstructed the litigation and multiplied the proceedings”);

Frey, 41 F.4th at 1245 (affirming sanctions and finding that “[c]ontinuing to pursue

claims after a reasonable attorney would realize they lacked merit can warrant sanc-

tions under § 1927.”); Young Apartments, Inc. v. Town of Jupiter, Fla., 503 F. App’x

711, 728 (11th Cir. 2013) (per curiam) (Section “1927 awards fees against counsel

for that counsel’s bad faith conduct, such as pursuit of a baseless claim knowing no

evidence supported it.”).

       In response, Appellants argue that the “weakness of Plaintiff’s claims . . .

cannot be considered under § 1927.” Br. at 44; id. at 45 (“Flawed lawsuits and ar-

guments are not sanctionable conduct under § 1927.”). Appellants do not actually

contend that the legal claims they promoted had any merit (either in their subjective

opinion or objectively). As this Court has held and as the district court explained,


                                         26
USCA11 Case: 22-12687        Document: 42      Date Filed: 03/14/2023   Page: 36 of 50



sanctions are warranted because Appellants “knowingly or recklessly pursue[d] friv-

olous claims” after it should have been apparent that the claims had no factual or

legal basis, needlessly dragged out discovery with frivolous objections, flagrantly

violated the discovery rules, and ignored the district court’s scheduling order. DE

66 at 4-6. Indeed, A SHOC only sought an award of fees that were incurred follow-

ing the completion of briefing of its motion to dismiss, at which point, as the district

court recognized, the “fatal flaws in Plaintiffs case should have been apparent.” Id.

at 5; DE 54-1 ¶ 13.

      Appellants next argue that, setting aside the weak legal theories, the record

does not establish that Appellants acted in bad faith. Br. at 44-45. Aside from citing

the legal standard, the sum total of Appellants’ argument that the record does not

support a bad faith finding is the naked assertion that “[t]here was no objective evi-

dence of bad faith” and that “[t]he district court’s conclusory statement about bad

faith was unsupported by any facts.” Id. at 46. The district court detailed precisely

what actions constituted vexatious conduct, as outlined above. DE 66 at 4-7. Ap-

pellants engaged in a clear pattern of conduct that flouted basic professional obliga-

tions and fully supported an award of attorneys’ fees. Id.

      Appellants’ contention that their conduct did not multiply proceedings fares

no better. Br. at 46-47. The district court found that Appellants’ “failure to mean-




                                          27
USCA11 Case: 22-12687        Document: 42      Date Filed: 03/14/2023   Page: 37 of 50



ingfully participate in discovery” directly “caused [A SHOC] to file multiple discov-

ery motions, unnecessarily and vexatiously multiplying litigation and driving up [A

SHOC’s] attorneys’ fees.” DE 66 at 7. Furthermore, the district court found that

Appellants continued to pursue frivolous legal claims well after it should have been

apparent that the claims had no merit, thereby unnecessarily driving up A SHOC’s

fees. Id. at 5. Both of these determinations were amply supported by the record.

      Appellants do not seriously argue that the district court’s factual finding that

their conduct needlessly prolonged litigation and caused Defendants to file multiple

motions was clear error, instead claiming that “discovery disputes are not sanction-

able conduct under § 1927.” Br. at 46. Nothing in Section 1927 carves out an ex-

ception for discovery disputes, however, and courts regularly impose sanctions un-

der Section 1927 for multiplying proceedings during discovery. See Apex Oil Co. v.

Belcher Co. of N.Y., 855 F.2d 1009, 1020 (2d Cir. 1988) (noting that counsel’s “fail-

ure to confer in good faith over discovery disputes in violation of a local rule,” which

resulted in unnecessary motion practice, had “clearly ‘multiplie[d] the proceed-

ings . . . unreasonably and vexatiously,’ and Section 1927 thus provide[d] ample

authority for sanctions”).

      Appellants also claim, without any legal support, that sanctions are inappro-

priate because the magistrate judge did not rule on the pending motions, instead

denying them as moot after Appellants voluntarily dismissed the case. Br. at 47; id.


                                          28
USCA11 Case: 22-12687        Document: 42      Date Filed: 03/14/2023   Page: 38 of 50



at 33 (“The district court’s determination that discovery abuse occurred was wrong

because no determination concerning the alleged discovery was ever made.”) The

Eleventh Circuit has already rejected this identical argument and, in any event, the

district court’s finding that Appellants’ refusal to participate in discovery multiplied

proceedings was not clear error. See Oliva, 583 F. App’x at 881-82 (“Nor did the

magistrate judge plainly err in finding that the punitive damages motion multiplied

the proceedings even though it was denied as moot. The NBTY defendants incurred

attorney’s fees and costs in responding to the motion, and Glick provides no legal

support for his assertion that a denial based on mootness does not multiply proceed-

ings.”).

      Finally, Appellants make passing reference to an argument that the district

court’s order “failed to view the facts in the light most favorable to Celsius and its

counsel.” Br. at 1; id. at 33 (“The district court failed to view the facts in the light

most favorable to counsel for Celsius”); id. at 38-39 (“But the record fails to support

the district court’s criticisms when considered in a light most favorable to counsel”).

The law does not, however, have any presumption against findings of bad faith: that

is a case-by-case determination for the district court. Appellants’ only purported

support is Johnson v. Florida, 348 F.3d 1334, 1354 (11th Cir. 2003), Br. at 32, which

is wholly inapposite as addressing the narrow standard of frivolousness applicable

to plaintiffs’ civil rights claims under 42 U.S.C. § 1997c(d). This Court’s case law


                                          29
USCA11 Case: 22-12687        Document: 42      Date Filed: 03/14/2023   Page: 39 of 50



applying Section 1927 makes clear that an appellate court can overturn a district

court’s factual findings only “if the record clearly indicates that a mistake was

made.” Oliva, 583 F. App’x at 879. The district court’s factual findings were based

on a straightforward and essentially incontrovertible view of the record (it is an in-

disputable fact that Appellants failed to produce any evidence supporting their legal

claims), and certainly were not clear error.

      C.     The Fee Award Was Directly Tied To Excess Proceedings Caused
             By Appellants’ Bad Faith Conduct

      The district court awarded Defendants their reasonable attorneys’ fees that

were incurred as a direct result of Appellants’ sanctionable conduct. DE 66 at 9.

The district court found that Appellants continued to pursue facially frivolous legal

claims after it should have been apparent that there were “fatal flaws” in the legal

theories, and that their “failure to meaningfully participate in discovery . . . caused

[A SHOC] to file multiple discovery motions, unnecessarily and vexatiously multi-

plying litigation and driving up [A SHOC’s] attorneys’ fees.” Id. at 5, 7. The fee

award was limited to reasonable expenses incurred after A SHOC fully briefed its

motion to dismiss, at which point Appellants should have appreciated that the claims

were legally infirm. Id. at 5, 8. Furthermore, A SHOC did not seek fees where

multiple attorneys were on calls, or for other potentially duplicative time. See DE

54-1 ¶ 17. The court noted that the rates of Gibson Dunn & Crutcher attorneys were

reduced by between 30-56% “from the firm’s customary rates actually charged to


                                          30
USCA11 Case: 22-12687        Document: 42      Date Filed: 03/14/2023   Page: 40 of 50



the client.” DE 66 at 9 & n.4; DE 54-1 ¶ 17. The district court did not abuse its

discretion in awarding A SHOC its reasonable attorneys’ fees incurred after the mo-

tion to dismiss was fully briefed.

        Appellants do not argue that the fee award was unsupported by record evi-

dence. Indeed, nowhere do they claim that the fee rates were unreasonable, dupli-

cative, or unnecessary. Br. (passim). Appellants do not allege that a single time

entry awarded to Defendants was unwarranted; nor is any claim made that the district

court misapplied the well settled “lodestar” standard for awarding reasonable attor-

neys’ fees. In the district court, Appellants did not contest the reasonableness of the

fees sought by Defendants as required by the Southern District of Florida Local

Rules, see DE 57 & DE 82-1, and they do not contest the reasonableness of the fees

here.

        Appellants argue instead that the district court erred by awarding Defendants

the fee amount in the sum that was requested. Br. at 34; id. at 47-48 (similar). The

district court’s award is not based on clearly erroneous factual findings or an abuse

of discretion. The district court did not award A SHOC anywhere close to all of its

attorneys’ fees. As the district court noted, Defendants spent well “in excess of

$350,000 litigating this case.” DE 66 at 8. Defendants claimed only the fees that

were directly caused by Appellants’ bad faith conduct: the fees incurred after brief-

ing the motion to dismiss, at which point, as the district court found, “it should have


                                          31
USCA11 Case: 22-12687       Document: 42      Date Filed: 03/14/2023   Page: 41 of 50



been apparent that Plaintiff’s claims were meritless.” Id. (brackets omitted). Even

then, the fee amount was further discounted where multiple attorneys were on calls,

and the Gibson Dunn rates were significantly reduced. DE 54-1 ¶ 17.

      To the extent that Appellants argue that specific fee entries were not causally

connected to sanctionable conduct, they have waived that argument. Appellants

failed to comply with Southern District of Florida Local Rule 7.3(b), which imposes

meet-and-confer obligations on parties before submitting a motion for attorneys’

fees. A SHOC complied with that rule, serving on Appellants an advance copy of

its motion for sanctions and material supporting its fee request. DE 54-1 ¶ 36. Ap-

pellants failed to “describe in writing and with reasonable particularity each time

entry or nontaxable expense to which it objects, both as to issues of entitlement and

as to amount, and [to] provide supporting legal authority,” as required by the local

rule, thereby waiving his right to contest A SHOC’s fees. S.D. Fla. Local R. 7.3(b);

DE 54-1 ¶ 36. At no point during the district court proceedings did Appellants argue

that any specific fee request was unconnected to the conduct that the district court

found sanctionable. See DE 57 (passim); DE 82-1 (passim). In any event, the Court

scrutinized A SHOC’s fees and “conclude[d] that the amount of attorneys’ fees re-

quested is reasonable.” DE 66 at 9. That conclusion was not clear error.




                                         32
USCA11 Case: 22-12687        Document: 42      Date Filed: 03/14/2023   Page: 42 of 50



II.     The District Court Did Not Violate Appellants’ Constitutional Rights

        Appellants’ final salvo is a grab bag of alleged constitutional violations that

grossly mischaracterize the record and are otherwise wholly undeveloped.

        Remarkably, Appellants first argue that the “district court never gave former

counsel notice that such sanctions were being considered by the court or an oppor-

tunity to respond.” Br. at 49. But Appellants indisputably had notice that Defend-

ants were seeking fees against counsel in their personal capacity. Defendants’ mo-

tion for sanctions sought its fees under 28 U.S.C. § 1927, which is titled “Counsel’s

Liability For Excessive Costs.” The statute’s name says it all. The statute provides

for fees against counsel “to satisfy personally the excess costs, expenses, and attor-

neys’ fees” incurred as a result of sanctionable conduct, a point that was spelled out

throughout A SHOC’s briefing. DE 54 at 11 (emphasis added). Furthermore, A

SHOC’s motion clearly put Appellants on notice that it was seeking fees against

counsel personally, since the sanctionable conduct was undertaken exclusively by

Celsius’s attorneys. Appellants noted as much during the hearing, acknowledging

that “the 1927 motion accuses me personally of vexatious conduct.” DE 82-1 at 36.

Nowhere do Appellants claim that the district court sanctioned them for anything

other than the sanctionable conduct clearly identified on the face of A SHOC’s mo-

tion.




                                          33
USCA11 Case: 22-12687        Document: 42      Date Filed: 03/14/2023   Page: 43 of 50



      In addition, Appellants not only had the opportunity to respond, they did in

fact respond (while unpersuasively). Appellants had the opportunity to present any

argument or evidence that they deemed relevant, both in writing and at the sanctions

hearing. See DE 57 (sanctions opposition); DE 82-1 (hearing transcript). It is un-

clear what more the district court could have possibly done to give Appellants an

opportunity to present countervailing evidence or argument. See Auto Owners Ins.

Co. v. Summit Park Townhome Ass’n, 886 F.3d 863, 873 (10th Cir. 2018) (rejecting

similar argument); Thomas v. Tenneco Packaging Co., 293 F.3d 1306, 1321 (11th

Cir. 2002) (per curiam) (affirming sanctions and noting due process requires notice

and opportunity to respond).

      Appellants next claim that the district court’s order “penalized former counsel

for Celsius for exercising their First Amendment rights on behalf of their client.”

Br. at 49-50. An attorney has no constitutional right to litigate in bad faith and Ap-

pellants’ argument in this vein is frivolous. See Avirgan v. Hull, 932 F.2d 1572,

1582-83 (11th Cir. 1991) (“the district court’s [sanction] order does not infringe

upon the appellants’ right of access to the courts, or first amendment rights of free

association, or [appellants’] professional obligation to represent clients zealously”);

see also O’Rourke v. Dominion Voting Systems, Inc., No. 21-1442, 2022 WL

17588344, at *6 (10th Cir. Dec. 13, 2022) (per curiam) (sanctions award did not

violate first amendment rights).


                                          34
USCA11 Case: 22-12687        Document: 42      Date Filed: 03/14/2023   Page: 44 of 50



       Finally, Appellants claim that the sanction award violates the Eighth Amend-

ment’s prohibition on excessive fines. They do not cite to any case adopting this

novel argument. In any event, the fee award compensates A SHOC for being forced

to litigate a frivolous case and because Appellants’ discovery tactics necessitated

filing multiple motions. It is not punishment, and therefore falls outside the Eighth

Amendment’s ambit. Austin v. United States, 509 U.S. 602, 610 (1993) (Excessive

Fines Clause applies only to punishment).

III.   The Evidence Regarding The SEC Investigation Into Celsius Is Imma-
       terial
       Appellants refer to an SEC Investigation that apparently “consumed Celsius

and its executive management” and that “this litigation was a distraction,” but it is

unclear what possible relevance this has. Br. at 21 (capitalization altered). It is

unclear whether Appellants are putting this forth as a belated explanation for why

they “flagrantly disregarded the discovery process by refusing to meaningfully par-

ticipate in discovery,” DE 66 at 4, or for some other purpose.

       Either way, it is immaterial. At no point during the lower court proceeding

was any evidence regarding the SEC investigation offered as an excuse for Appel-

lants’ conduct. DE 57; DE 82-1. And, in any event, an attorney is not somehow

excused from their professional obligations by virtue of their client being investi-

gated for securities fraud (or any other crime, for that matter). The fact that the SEC




                                          35
USCA11 Case: 22-12687        Document: 42      Date Filed: 03/14/2023   Page: 45 of 50



was investigating Celsius has no bearing on whether the district court abused its

discretion in sanctioning counsel.

IV.   A SHOC’s Partial Rebranding Is Irrelevant

      Appellants also put emphasis on A SHOC’s partial rebranding, apparently as

a justification for voluntarily dismissing the case on the eve of the court’s hearing to

resolve all of the pending motions. Br. at 22-23, 25. The record does not indicate

whether or not the “rebranding” was a factor in Celsius’s and Appellants’ deci-

sionmaking, or to what degree. In any case, the issue is immaterial because it does

not negate the bad faith found by the district court, which is all that is needed to

require affirmance by this Court.

V.    Amicus’s Arguments Do Not Support Reversal
      Amicus makes several arguments, none of which were raised below and, in

any event, do not support a finding that the district court abused its discretion.

      Amicus argues that the district court’s order imposes an “unreasonable duty

on attorneys, because they necessarily rely on the advice of their clients and experts

when deciding whether to pursue claims where the issues involved are complex and

scientific in nature.” Amicus Br. at 4, 6-8.

      Amicus’s contention is wholly off the mark because there is no scientific ev-

idence supporting Celsius’s allegation that A SHOC’s statements were false. Cel-




                                          36
USCA11 Case: 22-12687         Document: 42         Date Filed: 03/14/2023   Page: 46 of 50



sius refused to answer basic interrogatories asking it to “[d]escribe in detail the fac-

tual basis for . . . the proposition that the A SHOC ACCELERATOR product is not

THERMOGENIC,” DE 54-2, Ex. D at 9-10, refused to produce any documents sup-

porting their allegation that A SHOC ACCELERATOR did not accelerate metabo-

lism, see DE 54-2, Ex. G at 63, and did not put forth an expert opinion supporting

any claim of falsity. Indeed, one of the key reasons the district court sanctioned

Appellants was their refusal to put forth any evidence supporting the claims. DE 66

at 7. This is not a case where there is competing scientific evidence and the district

court sided with one party over the other. Rather, there was a vast amount of scien-

tific evidence supporting A SHOC’s position, and none supporting Celsius’s allega-

tions. As the district court put it, “[g]iven the scientific consensus in this area, it is

no wonder that Plaintiff did not—and likely was unable to—produce any evidence

to support its allegations.” DE 66 at 6. 3
                                         2F




        Amicus also argues that the district court’s order “chills access to justice,”

and “deters attorneys from accepting representation of clients in cases where novel




3
    Amicus repackages its reasonable-reliance argument as an assertion that the order
    interferes with the attorney-client relationship. Amicus Br. at 8. Regardless of
    how it is framed, Celsius produced zero evidence supporting its argument that A
    SHOC’s beverage was not thermogenic and did not accelerate metabolism. There
    is no reasonable disagreement about the science here, because Appellants put
    forth no scientific evidence (or any other type of evidence, for that matter) sup-
    porting their claims.

                                              37
USCA11 Case: 22-12687        Document: 42      Date Filed: 03/14/2023   Page: 47 of 50



claims are at issue and where clients cannot afford to pay.” Amicus Br. at 11-12.

Again, this case, which does not involve novel issues or an impecunious client, does

not present a proper occasion for consideration of these points. Celsius is not a low-

income client. It is a publicly traded company with a market cap of roughly $7

billion. The district court’s opinion is not going to squelch attorneys’ willingness to

take “close calls” on behalf of “clients [who] cannot afford to pay.” Amicus Br. at

11-13. It may deter attorneys from bringing theories that are “not legally cogniza-

ble,” DE 66 at 6, and are supported by zero evidence on behalf of multi-billion-dollar

companies trying to drive smaller upstart competitors out of business, which is what

actually happened here. 4
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                                  CONCLUSION
       The district court’s order awarding A SHOC its reasonable attorneys’ fees

incurred as a direct result of Celsius’s counsel’s bad faith conduct should be af-

firmed.




4
    Amicus also attempts to assign responsibility to the district court for requiring
    the parties to engage in discovery while a motion to dismiss was pending. Celsius
    did not request a stay of discovery until the motion to dismiss was adjudicated,
    and so cannot now claim that it was prejudiced by the district court’s aggressive
    scheduling order.

                                          38
USCA11 Case: 22-12687   Document: 42       Date Filed: 03/14/2023   Page: 48 of 50



Dated: March 14, 2023                 Respectfully submitted,

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                                      39
USCA11 Case: 22-12687       Document: 42     Date Filed: 03/14/2023   Page: 49 of 50



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      1.      This brief complies with the word limitation of Federal Rule of Appel-

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 Dated: March 14, 2023                              /s/ Howard S. Hogan
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USCA11 Case: 22-12687        Document: 42     Date Filed: 03/14/2023    Page: 50 of 50



                          CERTIFICATE OF SERVICE
      I certify that on March 14, 2023, I caused the foregoing brief to be electroni-

cally filed with the clerk of court and served on all counsel of record via this Court’s

CM/ECF system.



                                                      /s/ Howard S. Hogan
                                                        Howard S. Hogan
